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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:20-cv-01066-SKC

FRED NEKOUEE, individually,             :
                                        :
              Plaintiff,                :
                                        :
vs.                                     :
                                        :
NATIONAL RETAIL PROPERTIES, LP, a       :
Delaware limited partnership;           :
                                        :
and                                     :
                                        :
BEST BUY CO., INC., a Minnesota         :
corporation;                            :
                                        :
              Defendants.               :
_______________________________________ /


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendants, by and through their respective counsel, hereby stipulate to the

dismissal of this action against Defendants with prejudice pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii) as the parties have entered into a Settlement Agreement. Except as otherwise

agreed, each party to bear its own costs and attorney’s fees.

       DATE: June 10, 2020
                                              Respectfully submitted,

                                              s/Robert J. Vincze            _
                                              Robert J. Vincze (CO #28399)
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                                              Phone: 303-204-8207; Email: vinczelaw@att.net
                                              Attorney for Plaintiff Fred Nekouee
                                              and




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Attorneys for Defendants National Retail Properties, LP and Best Buy Co., Inc.




                               CERTIFICATE OF SERVICE

       I certify that on June 10, 2020, I electronically filed the foregoing Stipulation with the
Clerk of the Court using the CM/ECF system.

                                                      s/Robert J. Vincze
                                                      Robert J. Vincze (CO #28399)




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